                     Case: 23-5669         Document: 48         Filed: 03/15/2024        Page: 1

                  United States Court of Appeals for the Sixth Circuit
                                      Argument Acknowledgment

                             23-5669
1. Sixth Circuit Case No(s): _____________

                               Kayla Gore, et al. v. William Byron Lee, et al.
2. Case Caption (Short Title): __________________________________________________
                                         WLPH                        GD\GDWH
                             9:00 am       Thursday, May 2, 2024
3. Argument is scheduled for _BBBBBBBBBRQBBBBBBBBBBBBBBBBBBBBBBBBB and will be held:
        Live (In Person)                         by Video                        by Telephone

      Omar Gonzalez-Pagan
4. I, ________________________________, will be presenting argument on behalf of:
        Appellant / Petitioner                   Amicus Curiae                   Other (please specify below):

        Appellee / Respondent                    Intervenor                      _______________________

  If you are substituting for an attorney who had previously filed an argument acknowledgment,
  please indicate the name of the attorney: ______________________________________

5. Party Name(s):       Kayla Gore, L.G., K.N., and Jaime Combs



                                                  3 minutes (must be reserved in whole minutes)
6. Minutes reserved for rebuttal, if applicable: _________

7. If you are sharing time with one or more attorneys, please address the following:
  A. Number of attorneys sharing time: ____
  B. Total number of minutes (in whole minutes only) to be shared: ____
  C. Your arguing sequence (e.g., 1st, 2nd, etc.): ____
  D. Your assigned minutes (in whole minutes only): _____

                      If you have not previously registered as an ECF filer and
                      filed an appearance form in this case, you must do both.

                                       Docketing Instructions:
                   Event Category: Argument; Event: Argument Acknowledgment


                                           CERTIFICATE OF SERVICE
                      March 15, 2024
   I certify that on _______________________________ the foregoing document was served on all parties or their
  counsel of record through the CM/ECF system if they are registered users or, if they are not, by placing a true and
                  correct copy in the United States mail, postage prepaid, to their address of record.
                                       Omar Gonzalez-Pagan
                                   s/ ____________________________________
